Case 2:03-cv-02244-SHI\/| Document 108 Filed 08/11/05 Page 1 of 3 Page|D 93

UNITED STATES DlSTF{|CT COURT
WESTEF{N DISTF{|CT TENNESSEE
THoMAs M. GouLo MEMPHIS (901) 495-1200

CLERK OF COURT WESTERN DIVISION FAX (901) 495-1250
JACKSON (731) 421-9200

FAX (731) 421~92]0

August 11, 2005
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03cv2244-Ma

Dear Counsel:

It appears that in the above referenced cause the parties are unable to agree on the taxation
of costs.

Therefore, pursuant to Rule 54.1 of the Local Rules for the Westem District of Tennessee,
the Clerk is required to assess costs, after notice and hearing. Accordingly, you are hereby notified
that the Clerk of Court will tax costs on **Thursdav, October 13. 2005 @ 10:00 a.m.. in the
Clerk’s office located in Room 242, Clifford Davis Federal Building, 167 North Main Street,
Memphis, Tennessee. You may appear at that time and make any argument you believe relevant,
but you are not required to attend The Clerk of Court will accept any relevant citation of any law
the parties wish to submit, but such submissions must be received no later than one Week prior to
the scheduled hearing. Your appearance at this hearing and your submission of relevant case
citations is completely optional, and a party’s or counsel’s decision to not appear or to not submit
relevant citations will not adversely affect the Clerk of Court’s evaluation of how costs should be

assessed
Sincerely,
Thomas M. Gould, Clerk of Court
by:M@A/WM>

Deputy Clerk
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c: Docket Clerk
242 FEDERAL suttan 262 FEDERAL euanlNo

167 N. MAlN STREET l ll S. HIGHLAND

MEMPl-HS. TENNESSEE 38103 JACKSON, TENNESSEEBB`O]@€"

 

DISTR CT COURT - WESTNER

Notice of Distribution

This notice confirms a copy of the document docketed as number 108 in
case 2:03-CV-02244 vvas distributed by faX, mail, or direct printing on
August ll, 2005 to the parties listed.

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ESSEE

 

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Honorable Sarnuel Mays
US DISTRICT COURT

